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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA CaseNo: 24-294-LLA
% S18 U.S.C. § 111@)(1)
NICHOLAS ORTT,
Defendant.

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Nicholas Ortt, with the
concurrence of the defendant’s attorney, agree and stipulate to the below factual basis for the
defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the
United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public. The grounds around the Capitol were posted and cordoned off, and the entire area as well
as the Capitol building itself were restricted as that term is used in Title 18, United States Code,
Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,

among others, would be visiting the Capitol complex that day.

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3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,
November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5, At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior facade of the building. Officers with the D.C. Metropolitan Police
Department (MPD) were called to assist officers of the USCP who were then engaged in the
performance of their official duties. The crowd was not lawfully authorized to enter or remain in
the building and, prior to entering the building, no members of the crowd submitted to security
screenings or weapons checks as required by USCP officers or other authorized security officials.

6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol, however, shortly after

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2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.9 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

The Defendant’s Participation in the January 6, 2021, Capitol Riot

8. In the days preceding January 6, 2021, Ortt made plans to attend the former
President’ s “Stop the Steal” rally to protest the results of the 2020 presidential election. On January
6, 2021, Ortt travelled from his home in Maryland to Washington D.C., where he attended the
rally.

9. After attending the rally, Ortt walked with a crowd toward the United States
Capitol and, from there, onto the Capitol grounds. Once on Capitol grounds, Ortt saw barricades

used to mark the Capitol’s restricted area. Ortt entered the restricted area and eventually made his

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way to the West Plaza of the Capitol. At the time, Ortt knew that, on January 6, 2021, Congress
was supposed to certify the results of the 2020 presidential election and that, as part of the
certification proceeding, Vice President Mike Pence was present at the Capitol.

10. Prior to Ortt’s arrival at the Capitol, at approximately 1 p.m., rioters had breached
the barricades near the West Plaza. In response, officers had formed a police line on the West Plaza
to prevent rioters from advancing further toward the Capitol building. This line generally held until
approximately 2:28 p.m., temporarily preventing the mob’s advance.

11. After entering the restricted area on the Capitol’s west side, Ortt made his way
through the mob until he reached the police line on the West Plaza. At approximately 2:28 p.m.,
Ortt and other rioters on the north side of the West Plaza breached a police line consisting of
MPD and USCP officers, forcibly pushing past and assaulting the vastly outnumbered officers
who tried to hold the line. Image ] below shows Ortt in the initial phase of his confrontation with
the officers on the West Plaza. By pushing past the police line, Ortt facilitated the mob’s advance

toward the U.S. Capitol building.

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12. As Ortt attempted to bypass the police line, he forcibly assaulted and struggled
with several officers who were trying to maintain the line. For example, Image 2 below captures
Ortt as he grabbed and pushed against a police shield used by an MPD officer. Image 3 below

shows Ortt as he emerged at the forefront of the mob’s effort to breach the line at this location.

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13. Specifically, as Ortt moved through the police line, Ortt fought with multiple
officers and grabbed their batons as the officers struggled to avert attacks by other rioters behind
Ortt. Image 4 and 5 below show Ortt grabbing—and attempting to snatch—an officer’s baton as
part of that confrontation. Image 6 below shows Ortt further resisting and impeding officers

inside the perimeter of the police line.

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14. Once Ortt successfully breached the line, he continued to forcibly assault, oppose,
impede, and interfere with the officers, preventing those officers from reinforcing the collapsing
line. Images 7 and 8 show Ortt opposing, impeding, and resisting officers while other officers

behind Ortt struggled to hold the line and prevent the mob from advancing.

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15. After continued confrontations between Ortt and law enforcement, officers
successfully repelled Ortt’s advance, and he retreated into the mob. Seconds after Ortt broke
though officers, however, the police line collapsed, and the mob flooded onto the Lower West
Terrace.

16. On January 6, 2021, Ortt used his Facebook account to post about his
participation in the riot at the Capitol. At approximately 4:07 p.m., Ortt posted on Facebook a
photograph (reproduced below as Image 9) depicting Ortt outside the Capitol as he celebrates

with another rioter, who is in turn brandishing a stolen USCP riot shield.

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Image 9

17. In other Facebook posts, which Ortt posted later in the afternoon on January 6,
Ortt expressly referenced his participation in the riot that day. For example, at 5:24 p.m. Ortt sent
a message on Facebook that stated, “Using a friend’s phone, lost my phone pushing forward.” A
few minutes later, at 5:27 p.m., Ortt commented, “Never was prouder to be part of it.” At 5:40
p.m., Ortt boasted in another Facebook comment, “Trust me I was there at the front lines.”

18. Later that evening, at approximately 9 p.m., Ortt messaged, “You should have
been there today brother.” Ortt also posted a meme that read, “The constitution actually says you
can legally overthrow your government if they are tyrannical.” At another point, Ortt posted

another meme stating, “Resist Like It’s 1776.”

Elements of the Offense
19. The parties agree that 18 U.S.C. § 111(a)(1) requires the following elements:
a. Ortt assaulted, resisted, opposed, impeded, intimidated, or interfered with an officer
from the United States Capitol Police or Metropolitan Police Department,
b. Ortt did such acts forcibly;
c. Ortt did such acts voluntarily and intentionally;

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d. The person assaulted, resisted, opposed, impeded, intimidated, or interfered with
was an officer or an employee of the United States who was then engaged in the
performance of his or her official duties or assisting officers of the United Staes
who were then engaged in the performance of their official duties,

e. Ortt made physical contact with the officers or acted with the intent to commit
another felony.

Defendant’s Acknowledgments
20. Ortt knowingly and voluntarily admits that the facts stipulated above satisfy all the

elements set forth above. Specifically, Ortt admits that, on January 6, 2021, he forcibly assaulted,
resisted, opposed, impeded, intimidated, and interfered with officers along a police line on the
Lower West Plaza of the Capitol; that his conduct was voluntary and intentional; that the officers
Ortt assaulted, resisted, opposed, impeded, intimidated, and interfered with were officers of the
United States who were then engaged in the performance of their official duties or assisting officers
of the United Staes who were then engaged in the performance of their official duties, that his
conduct involved both (1) physical contact with the victims of his assault and (2) the intent to
commit another felony, namely, civil disorder, in violation of 18 U.S.C. § 231(a)(3).

Respectfully submitted,

MATTHEW M. GRAVES

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DEFENDANT'S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorney, Kevin
Wilson. I fully understand this A greement and agrec to it without reservation. | do this
voluntarily and of my own free will, intending to be legally bound. No threats have been made
to me nor am | under the influence of anything that could impede my ability to u nderstand this
Agreement fully. ] am pleading guilty because J am in fact guilty of the offense(s) identified in

this Agreement.

[ reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. | am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

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Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client,
Nicholas Ortt, and fully discussed the provisions of this Agreement with my client. These pages
accurately and completely set forth the entire Agreement. | concur in my client’s desire to plead
guilty as set forth in this Agreement.

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Kevin Wilson
Attorney for Defendant

